         Case 2:20-cv-01113-GJP Document 163 Filed 09/08/20 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


FEDERAL TRADE COMMISSION and
COMMONWEALTH OF PENNSYLVANIA,
            Plaintiffs,

       v.
                                                    Civil Action No. 2:20-cv-01113

THOMAS JEFFERSON UNIVERSITY and
ALBERT EINSTEIN HEALTHCARE
NETWORK,
             Defendants.


                   DEFENDANT’S MOTION TO FILE UNDER SEAL
                  DEFENDANT THOMAS JEFFERSON UNIVERSITY’S
                    MOTION TO SEAL CONFIDENTIAL EXHIBITS

       Pursuant to Local Rule 5, Defendants Thomas Jefferson University respectfully move this

Court for permission to file under seal exhibits to Defendant Thomas Jefferson University’s

Motion to Seal Confidential Exhibits (“Motion to Seal”). Defendant seek leave to file under seal

the exhibits that Defendant will attach to its forthcoming Motion to Seal related to the treatment

of certain Thomas Jefferson University documents at the Preliminary Injunction hearing on

September 14, 2020.

       In accordance with the Stipulated Protective Order (Dkt. # 55) in this matter, the parties

exchanged exhibit lists September 2, 2020. Both Plaintiffs and Defendants included among their

exhibits certain documents containing highly confidential and sensitive business, financial, or

patient information, which are identified in Appendix A to the Motion to Seal. The exhibits to

Defendant’s motion to seal consist of the following sensitive categories: 1) managed care contacts

and the negotiated terms and prices therein, the disclosure of which would be severely detrimental

to Jefferson’s competitive standing and would disadvantage Jefferson in future managed care


                                                1
         Case 2:20-cv-01113-GJP Document 163 Filed 09/08/20 Page 2 of 5




negotiations; 2) current Jefferson strategic and business plans, the disclosure of which would

likewise pose significant competitive harm to Jefferson; and 3) protected health information

(“PHI”), the disclosure of which is prohibited under the Health Insurance Portability and

Accountability Act (“HIPAA”).

       Defendant requests leave to file its exhibits to its Motion to Seal to preserve the highly

confidential information in these exhibits pending a ruling on its Motion. These exhibits are the

very substance of Defendant’s Motion to Seal and therefore should be withheld publically until

the Court has had an opportunity to consider the treatment of these documents. Wherever possible,

Defendant has identified portions of these exhibits that can be disclosed publically and will submit

redacted versions of those documents in the version of its motion emailed to the Court. For these

reasons, Defendants seek to file under seal the exhibits to their Motion to Seal.



 Dated: September 8, 2020                            Respectfully Submitted,


                                                      /s/ Paul H. Saint-Antoine
                                                      Paul H. Saint-Antoine (ID# 56224)
                                                      John S. Yi (ID# 318979)
                                                      Carol F. Trevey (ID# 312087)
                                                      FAEGRE DRINKER BIDDLE & REATH LLP
                                                      One Logan Square, Suite 2000
                                                      Philadelphia, PA 19103
                                                      Telephone: 215-988-2700
                                                      Facsimile: 215-988-2757
                                                      paul.saint-antoine@faegredrinker.com
                                                      john.yi@faegredrinker.com
                                                      carol.trevey@faegredrinker.com

                                                      Kenneth M. Vorrasi (admitted pro hac vice)
                                                      John L. Roach, IV (admitted pro hac vice)
                                                      Jonathan H. Todt (admitted pro hac vice)
                                                      Alison M. Agnew (admitted pro hac vice)
                                                      FAEGRE DRINKER BIDDLE & REATH LLP
                                                      1500 K Street, NW, Suite 1100


                                                 2
Case 2:20-cv-01113-GJP Document 163 Filed 09/08/20 Page 3 of 5




                                  Washington, DC 20005
                                  Telephone: 202-842-8800
                                  Facsimile: 202-842-8465
                                  kenneth.vorrasi@faegredrinker.com
                                  lee.roach@faegredrinker.com
                                  jonathan.todt@faegredrinker.com
                                  alison.agnew@faegredrinker.com

                                  Daniel J. Delaney (admitted pro hac vice)
                                  FAEGRE DRINKER BIDDLE & REATH LLP
                                  191 N. Wacker Drive, Suite 3700
                                  Chicago, IL 60606
                                  Telephone: 312-569-1000
                                  Facsimile: 312-569-3000
                                  daniel.delaney@faegredrinker.com

                                  Counsel for Defendant Thomas Jefferson
                                  University




                              3
         Case 2:20-cv-01113-GJP Document 163 Filed 09/08/20 Page 4 of 5




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 8nd day of September, 2020, a true and correct copy of the

foregoing was filed and served electronically by the Court’s CM/ECF system upon all registered

users in this action.

                                                    /s/ John L. Roach IV
                                                    John L. Roach IV
         Case 2:20-cv-01113-GJP Document 163 Filed 09/08/20 Page 5 of 5




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


FEDERAL TRADE COMMISSION and
COMMONWEALTH OF PENNSYLVANIA,
            Plaintiffs,

       v.
                                                    Civil Action No. 2:20-cv-01113

THOMAS JEFFERSON UNIVERSITY and
ALBERT EINSTEIN HEALTHCARE
NETWORK,
             Defendants.


                                    [PROPOSED] ORDER

       AND NOW, this ________ day of _____________________, 2020, pursuant to Local

Civil Rules 5.1.2 and 5.1.5, the Court GRANTS Defendant Thomas Jefferson University’s Motion

to File under Seal Defendant Thomas Jefferson University’s Motion to Seal Confidential Exhibits.

The Clerk of Court shall file/maintain under seal exhibits to Defendants’ Motion to Seal

Confidential Exhibits and they shall remain sealed unless and until the Court orders otherwise.




                                                    Gerald J. Pappert
                                                    United States District Judge
